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Via ECF

February 20, 2025

Judge Dale E. Ho
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States of America v. Adams (1:24-cr-00556-DEH)

Dear Judge Ho,

On February 17, 2025, undersigned counsel submitted a motion for leave to submit an amicus
brief in United States v. Adams in support of the Court’s authority to conduct a factual inquiry
into the government’s pending request for a nolle prosequi in the instant matter. (Dkt. No. 128).
We submitted the motion and proposed brief on behalf of a group of former United States
Attorneys,1 who believe that the extraordinary events preceding the government’s request for a
nolle prosequi on February 14, 2025 raise important questions about the rule of law, executive
power, and independence of the justice system. (Dkt. No. 122). Amici believed they could offer
a perspective that was “not available from the parties,” Auto. Club of New York, Inc. v. Port
Auth. of New York & New Jersey, No. 11 CIV. 6746 RJH, 2011 WL 5865296, at *1 (S.D.N.Y.
Nov. 22, 2011), and which “could prove helpful to the Court in shedding light on those aspects
of the case that the immediate parties may not [be] best situated to address,” Weininger v.
Castro, 418 F. Supp. 2d 553, 555 (S.D.N.Y. 2006). For the reasons set forth in amici’s February
17, 2025 motion, counsel for amici respectfully request leave to file this supplemental amicus
letter brief concerning the proceedings before this Court on February 19, 2025.
During yesterday’s hearing, only one perspective was offered to the Court: That the Court should
grant the request for a nolle prosequi without any further investigation into the extraordinarily
unusual events that surrounded the request. (Feb. 19, 2025 Hrg. Tr. at 48-51). Amici
respectfully submit that Federal Rule of Criminal Procedure 48(a) requires more than that, and


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 The group consists of John S. Martin Jr. (former United States Attorney for the Southern
District of New York (1980-1983) and former Judge for the United States District Court for the
Southern District of New York (1990-2003)); Robert J. Cleary (former United States Attorney
for the District of New Jersey (1999-2002)); and Deirdre M. Daly (former United States
Attorney for the District of Connecticut (2013-2017)).
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that it would be useful to the Court to hear from someone other than the government and the
defendant about appropriate ways to proceed in this matter, including how best to develop the
factual record required by Rule 48(a).2 As amici noted in their proposed brief, the Court has
wide discretion, and can appoint counsel to investigate the events surrounding the request for
dismissal or to present a factual and legal analysis in addition to what was argued before the
Court yesterday. (See Dkt. No. 128 at 9). Amici urge the Court to hear from parties other than
the government and the defendant in deciding about the appropriate next steps.
Amici also urge the Court to consider another factor that the parties did not address yesterday—
namely, the important role of grand juries in criminal proceedings. Under the Constitution
neither the President nor the Department of Justice can institute a criminal prosecution. Only a
grand jury impaneled by a federal judge can commence a criminal case by filing an indictment.
By returning an indictment, the grand jury announces its finding that probable cause exists to
believe that the defendant committed a federal offense. Under FRCP 48(a), and pursuant to the
Court’s inherent authority, the Court has the important obligation to ensure the integrity of all
proceedings related to the grand jury’s indictment.
We thank the Court for its consideration of this matter.


Sincerely,
/s/ Carey R. Dunne
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Counsel for Amici Curiae

cc:   All counsel of record (via ECF)




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 As the Court noted, even if the Court’s authority is limited under Rule 48(a), the Court has a
role to play because otherwise “there would be no purpose for the requirement of leave under
Rule 48.” (Feb. 19, 2025 Hrg. Tr. at 2-3).
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